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JAN 10 2019

UNITED STATES DISTRICT COURT

DISTRICT OF FLORIDA
ANGELAE.NOBLE

 

 

 

 

 

  

 

 

 

SOUTHERN DISTRICT c&nxuanmrcr
s.n.oF FLA.-MIAMl
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S. D. oF FLA.D_'S,.,,T,'A°H}

 

VS

KEVIN FUSCO
NOTICE OF APPEAL

DEFENDANT FUSCO hcrbey notify this court it is his intent to
appeal the order dated 20 Dec: 2018 (Doc 47) on the following

grounds;

l)\ This court found that the § 3742(a)(1) moti»n, was
untimely pursuant to the statute of law, and rule 4(b) of

appeals rules;

2) This holding, does not comport with the Supreme Courts
time tested holdings in MIRANDA v ARIZONA.

"When the_Constitutional rights of a person are involved,any

legislation or rule which abrogates those rights is VOID."

3) Defendant FUSCO OBJECTS to such erronious holdings by
Judge UNGARO, and notifies this court he intends to Appeal
this denial to the llth Circuit Court of appeals’

Submitted this 2nd day of January 2019

Kevin Fusco

Maxwell Air Force Base

Montgomery AL 36112

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